Case 6:13-ap-01443-SY         Doc 139 Filed 08/14/19 Entered 08/14/19 08:56:16                Desc
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 5
     Attorneys for Plaintiffs Dr. Bruce & Maureen Taber             CLERK U.S. BANKRUPTCY COURT
                                                                    Central District of California
 6                                                                  BY potier     DEPUTY CLERK


 7
                                                             CHANGES MADE BY COURT
 8

 9                               UNITED STATES BANKRUPTCY COURT

10                                 CENTRAL DISTRICT OF CALIFORNIA

11                                        RIVERSIDE DIVISION

12

13    In re:                                           Case No. 6:13-bk-25280-SY
14    CHARLES PERRY COPELAND &                         Chapter 7
      ARLENE DIANE COPELAND
15
                                                       Adversary 6:13-ap-01443-SY
16                Debtors

17                                                     JUDGMENT
      BRUCE TABER & MAUREEN TABER
18

19                          Plaintiffs

20    vs.

21    CHARLES PERRY COPELAND &
      ARLENE DIANE COPELAND
22

23                       Defendants

24

25
               Based on the Stipulation for Money Judgment of $6,607,707.62 for Nondischargeability
26   of Debt Pursuant To: 11 U.S.C. §§ 523(a)(2)(A); 11 U.S.C. §§ 523(a)(4); 11 U.S.C. §§ 523(a)(6);
27   11 U.S.C. §§ 523(a)(19); & Unfair, Unlawful and Fraudulent Business Practice Cal. Bus. & Prof.
28
Case 6:13-ap-01443-SY        Doc 139 Filed 08/14/19 Entered 08/14/19 08:56:16              Desc
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 1
     Code § 17200. et seq [Doc. 134] executed by the parties, and approved by the court by order
 2
     entered on August 8, 2019 [Doc. 137],
 3
             IT IS ORDERED that judgment is entered in favor of plaintiffs Bruce & Maureen Taber
 4   and against defendants Charles Perry & Arlene Diane Copeland in the amount of $6,607,707.62,
 5   which is nondischargeable under 11 U.S.C. §§ 523(a)(2)(A), (a)(4), (a)(6), & (a)(19). Interest
 6   shall accrue on this judgment at the legal rate from date of entry.
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     Date: August 14, 2019
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